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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 MATTHEW KOTILA, individually and on        Case No. 1:22-cv-00704
 behalf of all others similarly situated,
                                            Hon. Hala Y. Jarbou
        Plaintiff,
 v.

 CHARTER FINANCIAL PUBLISHING
 NETWORK, INC.,                             CLASS ACTION

         Defendant.

           PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT
      PURSUANT TO RULES 23(b)(3) AND 55(b)(2) AND APPROVAL OF
            PLAINTIFF’S PROPOSED CLASS NOTICE PLAN
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          Plaintiff Matthew Kotila (“Plaintiff”), individually and on behalf of all others

 similarly situated, respectfully moves this Court for entry of a Default Judgment1

 against Defendant Charter Financial Publishing Network, Inc. (“Defendant”)

 pursuant to Rules 23(b)(3) and 55(b)(2), and approval of Plaintiff’s proposed notice

 plan, and states as follows:

          1.     On August 3, 2022, Plaintiff initiated this action by filing his Class

     Action Complaint against Defendant. ECF No. 1. The following day, the Clerk of

     Court issued a Summons in a Civil Action as to Defendant. ECF No. 4.

          2.     On August 11, 2022, service of the Complaint and Summons was

     effectuated on Defendant. See ECF No. 5 at 2, PageID.534.

          3.     Defendant failed to answer or respond to the Complaint or otherwise

     defend the action within twenty-one days from the date of service of the Summons

     and Complaint, as required under Federal Rule of Civil Procedure 12(a)(1)(A)(i).

          4.     Thus, on September 28, 2022, Plaintiff filed an Application for the

     Clerk of Court to enter a default against Defendant pursuant to Federal Rule of Civil

     Procedure 55(a). ECF No. 7.

          5.     On October 19, 2022, the Clerk of Court issued an Entry of Default

     against Defendant pursuant to Rule 55(a). ECF No. 12.



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    Calculation of the precise value of the Judgment shall be deferred until after the
 notice period.

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       6.     On December 2, 2022, Plaintiff filed a Motion for Class Certification

  Pursuant to Rules 23(a) & 23(b)(3), and for Leave to Take Discovery Pursuant to

  Rule 55(b)(2). ECF No. 13.

       7.     On May 12, 2023, the Court issued its Opinion and Order on Plaintiff’s

  Motion for Class Certification, conditionally granting the motion to certify a class

  and directing plaintiff to provide a more specific proposed class definition within

  seven days. ECF Nos. 14, 15.

       8.     On May 19, 2023, Plaintiff filed a supplemental brief, providing a more

  specific class definition and requesting leave to take discovery. ECF No. 16.

       9.     On June 5, 2023, the Court issued an Order certifying the class,

  allowing plaintiff to conduct discovery, and directing plaintiff to file a motion for

  default judgment by August 16, 2023. ECF No. 17.

       10.    The Court certified the following class under Rule 23(b)(3) of the

  Federal Rules of Civil Procedure:

              Plaintiff, as well as every other resident of Michigan who
              subscribed to any of Defendant’s publications before July 31,
              2016, and whose name together with the name of the
              publication(s) to which they subscribed were disclosed by
              Defendant (or an employee or agent of Defendant acting on
              Defendant’s behalf) at any time between April 25, 2016, and July
              30, 2016, to any third party without the consent of the subscriber.

 Id., PageID.658‒659.




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       11.    Plaintiff proceeded by engaging in the discovery process. In furtherance

 of these discovery efforts, certain third-parties requested a confidentiality order be

 entered in this case so that they would be permitted to disclose information about

 Class members. ECF No. 18; see also ECF No. 24.

       12.    Discovery has revealed that Defendant has wrongfully disclosed the

 subscription information of Class members; Plaintiff has determined that there are

 at least 3,416 members of the Class, or Michigan subscribers to Defendant’s

 Financial Advisor magazine as of July 31, 2016, who had their name and that they

 subscribed to Financial Advisor, non-consensually disclosed to a third-party

 between April 25, 2016 and July 31, 2016.

       13.    Plaintiff further requests that this Court approve Plaintiff’s proposed

 class notice plan (as described in Plaintiff’s supporting brief) directed to the

 identified Class members, and direct distribution of this notice.

       14.    Finally, Plaintiff requests that the Court enter its Default Judgment on

 a deferred basis, following the completion of the notice period.

       15.    Plaintiff seeks Default Judgment in the amount of $5,000.00 per Class

 member, the statutory penalty provided by the Preservation of Personal Privacy Act,

 PPPA § 5(a) (see ECF No. 1, PageID.24), multiplied by the number of Class

 members who do not choose to opt out of the Class, again, which will be determined

 following the notice period.



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       In support of this Motion, Plaintiff relies on the contents of this Motion, the

 Brief in Support, and the accompanying exhibits. A proposed order—granting the

 request for approval of Plaintiff’s class notice plan and entry of Default Judgment as

 to Defendant, with the precise value of the Judgment deferred until following the

 notice period—is attached as Exhibit 1.

 Dated: August 16, 2023                 Respectfully Submitted,

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                                        Counsel for Plaintiff and the Class



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                           CERTIFICATE OF SERVICE

    I HEREBY CERTIFY that on August 16, 2023, a true and correct copy of the

 foregoing was served by electronic service via the Court’s CM/ECF service on all

 counsel or parties of record on the service list in the above-entitled action. I further

 certify that a true and correct copy of the foregoing is being sent this same date to

 the persons listed below via prepaid first-class U.S. Mail:

    • Charter Financial Publishing Network, Inc., c/o Cogency Global, 850 New
      Burton Road, Suite 201, Dover, DE 19904

                                         /s/ E. Powell Miller
                                         E. Powell Miller
